          Case 1:24-cr-00542-AS         Document 234        Filed 04/16/25       Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES,
                                                       S3 24 cr. 542 (AS)
v.
                                                       MOTION FOR ADMISSION
SEAN COMBS,
                                                       PRO HAC VICE
                 Defendant.
___________________________

          Pursuant to Rule 1.3(i) of the Local Rules of the United States Courts for the Southern and

Eastern Districts of New York, Brian Steel hereby moves this Court for an Order for admission to

practice Pro Hac Vice to appear as counsel for Sean Combs, Defendant, in the above-captioned

action.

          I am a member in good standing of the Bar of the State of Georgia and there are no pending

disciplinary proceedings against me in any state or federal court. (See Attached Certificate of Good

Standing, Exhibit “A”). I have never been convicted of a felony. I have never been disbarred or

denied admission or readmission by any court. I have been administratively suspended (then

reinstated) and censured (but then vindicated) by courts and provide the facts and circumstances

surrounding those instances in the attached the affidavit pursuant to Local Rule 1.3. (Exhibit “B”)


          Dated: April 16, 2025.

                                                       Respectfully Submitted,


                                                       /s/ Brian Steel
                                                       Brian Steel
                                                       The Steel Law Firm, P.C.
                                                       1800 Peachtre Street, NW, Ste 300
                                                       Atlanta, Georgia 30309
                                                       404-605-0023 (Tel)
                                                       404-352-5636 (Fax)
                                                       thesteellawfirm@msn.com

                                                       Applicant for Pro Hac Vice Admission
       Case 1:24-cr-00542-AS          Document 234     Filed 04/16/25       Page 2 of 2




                                CERTIFICATE OF SERVICE

       I hereby certify that I have served the foregoing MOTION FOR ADMISSION PRO

HAC VICE on the individuals listed below by electronic filing:

                                   All counsel listed on ECF


       This the 16th day of April, 2025.

                                                  Respectfully submitted,


                                                  /s/ Brian Steel
                                                  BRIAN STEEL
                                                  GA Bar No. 677640
                                                  The Steel Law Firm, P.C.
                                                  1800 Peachtree Street NW, Ste. 300
                                                  Atlanta, Georgia 30309
                                                  (404) 605-0023 (office)
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                                                  Applicant for Pro Hac Vice Admission




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